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                           UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                               )
      PEDRO LOPEZ, et al.                      )
                                               )
            Appellants,                        )
                                               )
            v.                                 )                        Case No. 14-1952
                                               )
      CITY OF LAWRENCE, et al.,                )
                                               )
            Appellees.                         )
                                               )

           PLAINTIFFS-APPELLANTS’ AND DEFENDANTS-APPELLEES’
                JOINT MOTION REGARDING ORAL ARGUMENT

            The parties jointly move for an order establishing a time allotment schedule for

      oral argument, scheduled in this matter for October 7, 2015, as set forth below. The

      schedule agreed to and proposed by the parties below is consistent with this Court’s

      rules for oral argument and is designed to permit the parties to fully and fairly argue

      and respond to arguments raised in support of their respective positions. To this end,

      the parties propose the following schedule:

         1. Each side will be provided 45 minutes.

         2. The Appellants time will be divided as follows:

                 a. Appellants;

                 b. The Department of Justice (motion pending);

         3. The Appellees time will be allotted as follows:
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                a. City of Boston - 15 minutes;

                b. The MBTA - 15 minutes;

                c. The City of Lowell - 5 minutes;

                d. The City of Worcester - 5 minutes;

                e. The City of Springfield - 5 minutes;

                f. The City of Lawrence will defer its time to the other Appellees;

                g. The City of Methuen will defer its time to the other Appellees.

      Respectfully submitted,

      PEDRO LOPEZ, et al.
      By their attorneys,

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      CITY OF BOSTON,

      /S/ Kay H. Hodge
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      CITY OF LOWELL AND APPOINTING AUTHORITY FOR THE CITY OF
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      CITY OF METHUEN and WILLIAM MANZI, III, in
      his capacity as Mayor,

      /s/ Kerry R. Jenness
      Kerry R. Jenness (C.A.B. 87787)

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      DANIEL GRABAUSKAS, in his capacity as General
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      MASSACHUSETTS BAY TRANSPORTATION AUTHORITY,

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      CITY OF SPRINGFIELD and DOMENIC J. SARNO,
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      CITY OF WORCESTER, CITY MANAGER OF WORCESTER, and
      MAYOR OF WORCESTER,

      /s/ Tim D. Norris
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      Dated: September 16, 2015



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      September 16, 2015                   /s/ Rachel M. Brown
                                           Rachel M. Brown




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